                    Case 2:08-cr-00577-KJM Document 41 Filed 04/29/10 Page 1 of 2


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 5
 6   Attorney for Defendant
     ANIL MALHI
 7
 8                                                    UNITED STATES DISTRICT COURT
 9
                                                 EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                                     )     CASE NO. 2:08-cr-00577-FCD
                                                                   )
12                                  Plaintiff,                     )     STIPULATION AND ORDER
13                                                                 )     CONTINUING STATUS
               v.                                                  )     CONFERENCE
14                                                                 )
     ANIL MALHI, et al.,                                           )     Proposed Date: July 26, 2010
15                                                                 )     Time:          10:00 a.m.
                                    Defendants.                    )     Court:         Courtroom 2
16
                                                                   )
17
               IT IS HEREBY stipulated between the United States of America, through its undersigned counsel,
18
     Assistant United States Attorney R. Steven Lapham, together with counsel for defendant Salam S. Kalasho
19
20   and Pisces International, Inc., Gregory A. Vega, and counsel for defendant Anil Malhi, Donald M. Ré, that

21   the status conference presently set for May 3, 2010, be continued to July 26, 2010 at 10:00 a.m., thus
22   vacating the presently set status conference.
23
               The parties stipulate that the ends of justice are served by the court excluding such time, so that
24
     counsel for defendants may have reasonable time necessary for effective preparation, taking into account
25
     the exercise of due diligence. 18 U.S.C. §3161 (h)(8)(B)(iv).
26
27             Specifically, the requested continuance is based upon the need of counsel for defendant Kalasho and

28   defendant Malhi for additional time to engage in settlement discussions. The parties stipulate and agree that

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                   Case 2:08-cr-00577-KJM Document 41 Filed 04/29/10 Page 2 of 2


 1   the interests of justice served by granting this continuance outweigh the best interests of the public and the
 2
     defendants in a speedy trial. 18 U.S.C. §3161 (H)(8)(a).
 3
               IT IS SO STIPULATED.
 4
     Dated: April 29 , 2010                            /s/ Donald M. Ré
 5                                                     Donald M. Ré
 6                                                     Attorney for Defendant Anil Malhi

 7
 8   Dated: April 29, 2010                             /s/ Gregory A. Vega
                                                       Gregory A. Vega
 9
                                                       Attorney for Defendant Salam Kalasho
10                                                     and Pisces International, Inc.

11
12   Dated: April 29, 2010                             /s/ R. Steven Lapham
13                                                     R. Steven Lapham
                                                       Assistant U.S. Attorney
14
15
                                                         ORDER
16
     IT IS SO ORDERED.
17
18   Dated: April 29, 2010
19
                                                      _______________________________________
20                                                    FRANK C. DAMRELL, JR.
                                                      UNITED STATES DISTRICT JUDGE
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